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      EXHIBIT B
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                       DECLARATION OF AMIR MOHEB MOHAREB, M.D.

I, Amir Mohareb, hereby declare the following under penalty of perjury pursuant to 28
U.S.C. § 1746:

I am an Infectious Diseases physician in Massachusetts. I completed my medical
degree in Johns Hopkins University School of Medicine, my training in Internal Medicine
at Yale-New Haven Hospital, and my Infectious Diseases fellowship in the joint program
of Brigham & Women's Hospital and Massachusetts General Hospital. I am board-
certified in both Internal Medicine and Infectious Diseases. I practice in Massachusetts
General Hospital and am an Instructor in Harvard Medical School. I am a member of the
Biothreats Response Team at Massachusetts General Hospital, a position which has
required me to take a leading role in infection control measures during the 2019
Coronavirus Disease (COVID-19) outbreak.

I have been retained by the plaintiffs in this case to provide statements and testimony
about COVID-19, its clinical presentation and course, and the medical evidence
regarding its transmission. I am not charging the plaintiffs for the time that I spend on
this case. A copy of the documents I received as part of my work on this case is
appended to the end of my report. My opinions are set forth to a reasonable degree of
medical certainty based on my education, training, experience, and familiarity with the
authoritative literature on the subjects discussed below.

COVID-19 Background. COVID-19 is the disease caused by a novel respiratory virus,
SARS-CoV-2, identified in late 2019 in Wuhan, China. 1 The name of the virus is SARS-
CoV-2, and the name of the disease caused by this virus is COVID-19. This disease
primarily manifests as influenza-like illness. A fraction of patients with COVID-19 in all
age groups go on to develop severe respiratory disease. A patient with the severe form
of COVID-19 is unable to breathe effectively to provide enough oxygen for their body's
vital organs ("hypoxia"). Hypoxia causes organ failure and will lead to death if it
progresses. Patients with hypoxia from severe COVID-19 uniformly feel an intense and
frightening degree of shortness of breath. Medical treatment for hypoxia involves
provision of supplemental oxygen, which can be done non-invasively in mild cases and
by ventilator in severe cases. In the United States, these patients remain connected to
the ventilator for a median of 10 days. 2 The mortality rate is highest among those of
advanced age and those with other medical conditions. Of those who recover to the
point of being liberated from mechanical ventilation, these patients commonly need
several more days of hospitalization and then weeks of rehabilitation. Aside from
hypoxia, COVID-19 has been observed to cause several other complications in
hospitalized patients, including blood clots, strokes, liver damage, kidney damage,
irregular heart rhythms, and heart failure. Hospitalized patients with COVID-19 are also


1
  Wei-jie Guan et al., “Clinical Characteristics of Coronavirus Disease 2019 in China,” New England Journal of
Medicine, February 28, 2020, https://doi.org/10.1056/NEJMoa2002032.
2
  Pavan K. Bhatraju et al., “Covid-19 in Critically Ill Patients in the Seattle Region — Case Series,” New England
Journal of Medicine, March 30, 2020, https://doi.org/10.1056/NEJMoa2004500.


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at risk of superimposed bacterial infections, such as pneumonia and bloodstream
infections.

SARS-CoV-2 is spread easily between humans. There is no effective therapy. There is
no effective intervention to prevent disease in a person exposed to someone with
COVID-19. There is no effective vaccine or medication that prevents COVID-19.
Therefore, the only effective means of addressing the threat of COVID-19 are in
behavioral strategies of prevention. Persons who have COVID-19 must be immediately
isolated to prevent transmission to others. Persons who are exposed to COVID-19 must
be immediately quarantined. Persons who are susceptible to COVID-19 must maintain
social distancing from others.

Diagnosis. The most common means of confirming COVID-19 diagnosis is through
detection of SARS-CoV-2 by nasopharyngeal testing. In this test, a swab of the
nasopharynx of the patient is obtained and a molecular identification of the SARS-CoV-
2 virus is conducted using a method called polymerase chain reaction (PCR). Concerns
have been raised about the sensitivity of the nasopharyngeal SARS-CoV-2 PCR,
meaning that a number of patients suspected of having COVID-19 may indeed have the
infection despite a negative nasopharyngeal SARS-CoV-2 PCR test. 3 The sensitivity of
nasopharyngeal testing by all commercial testing platforms declines several days after
the onset of symptoms, even though patients may still have clinical illness and may still
be able to transmit the virus. Because of this, many clinical settings use two serial
negative tests to “rule out” patients for the virus. The Abbott "ID Now" SARS-CoV-2 test
is one type of PCR test, which can deliver rapid results, but has a particularly high false
negative rate. In patients with a compatible clinical syndrome, I would not rely on a
negative PCR test from the Abbott "ID Now" SARS-CoV-2 test. Indeed, in my hospital,
patients with typical clinical signs and symptoms of COVID-19 who are at
epidemiological risk for the infection (such as from an exposure to a jail) are presumed
to have COVID-19 even if they have two negative SARS-CoV-2 nasopharyngeal PCR
tests. I did not see any indication in the materials that I reviewed that individuals at Cook
County Jail receive two negative tests before COVID-19 is considered ruled out or that
individuals with compatible clinical syndromes are presumed to have COVID-19 despite
negative PCR testing. This suggests to me that some people in Cook County Jail who
initially test negative may in fact have COVID-19.

Transmission. Based on a framework followed by the World Health Organization
(WHO) and the Centers for Disease Control and Prevention (CDC), there are three
possible ways that a respiratory virus can potentially spread: 4

3
  J Zhao et al., “Antibody Responses to SARS-CoV-2 in Patients of Novel Coronavirus Disease 2019,” Clinical
Infectious Diseases, March 28, 2020, https://doi.org/10.1093/cid/ciaa344; Li Guo et al., “Profiling Early Humoral
Response to Diagnose Novel Coronavirus Disease (COVID-19),” Clinical Infectious Diseases, March 21, 2020,
https://doi.org/10.1093/cid/ciaa310; Tao Ai et al., “Correlation of Chest CT and RT-PCR Testing in Coronavirus
Disease 2019 (COVID-19) in China: A Report of 1014 Cases,” Radiology, February 26, 2020, 200642,
https://doi.org/10.1148/radiol.2020200642.
4
  Chad J. Roy and Donald K. Milton, “Airborne Transmission of Communicable Infection — The Elusive Pathway,”
New England Journal of Medicine 350, no. 17 (April 22, 2004): 1710–12, https://doi.org/10.1056/NEJMp048051.


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    1. Fomite transmission: virus particles remain viable on environmental surfaces.
       When people touch these surfaces and then touch their face, they can contract
       the virus.
    2. Droplet transmission: virus particles in large respiratory droplets (>5micrometres)
       that are emitted by an infected person can be inhaled by a susceptible person in
       close contact. These large droplets can travel up to six feet. Healthcare workers
       protect themselves against droplet transmission by wearing "routine" surgical or
       procedural masks, gowns, and gloves, and practicing hand hygiene before and
       after each patient encounter.
    3. Airborne, or aerosolized, transmission: virus particles in small respiratory droplets
       (<5micrometres) that are emitted by an infected person can remain suspended in
       the air and remain infective over several hours and over long distances.
       Pathogens that travel via airborne transmission can infect persons even if they
       are wearing surgical or procedural masks. Healthcare workers protect
       themselves against airborne transmission by wearing specialized masks (N95
       masks or Powered Air-Purifying Respirators) and by isolating infected persons in
       closed rooms with negative-pressure ventilation. Buildings or facilities with other
       forms of ventilation may spread aerosolized pathogens between rooms.

It is well-known that SARS-CoV-2 is spread by fomite and droplet transmission.
Researchers in the National Institute of Allergy and Infectious Diseases recently sought
to determine whether SARS-CoV-2 can remain viable via airborne transmission. 5 They
aerosolized virus in small droplets (<5micrometres) at quantities that would be typically
found from the respiratory tract of infected humans. They then spread the virus across
different environmental conditions. They found that SARS-CoV-2 virus remained viable
in aerosols (small droplets) for the entire duration of their experiment (3 hours). SARS-
CoV-2 also remained viable on various surfaces (e.g., plastic and stainless steel) for up
to 72 hours. This leads medical experts to conclude that SARS-CoV-2 is predominantly
transmitted by fomite and droplet transmission, but airborne transmission is possible
when aerosols are generated.

This is consistent with clinical experience with SARS-CoV-1, a closely related virus that
was the cause of the 2003 SARS outbreak in China, Hong Kong, and Canada. While
the dominant form of transmission was through fomites and droplets, SARS-CoV-1 was
also capable of being aerosolized and remained infective over time and space via
airborne transmission. This virus was transmitted to several healthcare workers via
droplet transmission. During the course of aerosol-generating medical procedures,
SARS-CoV-1 was transmitted to healthcare workers via airborne transmission even if
they were wearing surgical masks. 6 Aerosols can be generated by a number of common

5
  Neeltje van Doremalen et al., “Aerosol and Surface Stability of SARS-CoV-2 as Compared with SARS-CoV-1,” New
England Journal of Medicine 382, no. 16 (April 16, 2020): 1564–67, https://doi.org/10.1056/NEJMc2004973.
6
  Damon C. Scales et al., “Illness in Intensive Care Staff after Brief Exposure to Severe Acute Respiratory
Syndrome,” Emerging Infectious Diseases 9, no. 10 (October 2003): 1205–10,
https://doi.org/10.3201/eid0910.030525; Yee-Chun Chen et al., “SARS in Hospital Emergency Room,” Emerging
Infectious Diseases 10, no. 5 (May 2004): 782–88, https://doi.org/10.3201/eid1005.030579.


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events, including vigorous coughing, sneezing, use of certain nasal sprays or nebulizer
treatments, and toilet flushing.

In addition to respiratory secretions, SARS-CoV-2 virus has been isolated in secretions
of the mouth, nose, eyes, blood, stool, and urine. This suggests that respiratory contact
is not the only mode of transmission for this virus. There are several reasons to believe
that SARS-CoV-2 can be transmitted via fecal-oral contact. 7 First, many viral respiratory
infections, including other coronaviruses closely related to SARS-CoV-2, have been
shown to also transmit via fecal-oral contact. Second, SARS-CoV-2 has been identified
in the stool of many patients with COVID-19. 8 Third, many patients with COVID-19 have
nausea, vomiting, and diarrhea, suggesting that the virus has a direct pathogenic effect
on the gastrointestinal tract. Finally, even among COVID-19 patients who lack
gastrointestinal symptoms, live virus has been isolated in the stool. The identification of
viable SARS-CoV-2 in stool of infected persons raises concern of airborne transmission
via toilet flushing. 9

By these mechanisms, SARS-CoV-2 is easily transmitted between humans. There is
overwhelming evidence demonstrating that a person can spread SARS-CoV-2 before
they develop symptoms or without ever developing symptoms at all. 10 This
characteristic is one of the major reasons why it spreads so rapidly. At the time of this
writing, there have been more than 700,000 laboratory-confirmed cases of COVID-19 in
the U.S. with more than 30,000 deaths. Because of widespread restrictions in laboratory
testing, I believe there are many more infected persons in the U.S. than have been
confirmed. Rapid transmission of the virus has been noted in congregate settings,
including nursing homes, cruise ships, conferences, homeless shelters, and correctional
facilities. In many of these settings, infection spread despite the diligent implementation
of hygienic measures, including physical separation of individuals within the congregate
setting and the use of hand hygiene and personal protective equipment.

In his declaration, Mr. Michael Miller states that when individuals are identified as being
symptomatic, they are put into isolation at the Cook County Jail. While this intervention
is necessary, it is insufficient to prevent spread of the infection because patients
transmit SARS-CoV-2 prior to developing symptoms. It further appears from the
materials that I reviewed that the jail is housing persons under investigation (PUIs) of

7
  Jinyang Gu, Bing Han, and Jian Wang, “COVID-19: Gastrointestinal Manifestations and Potential Fecal–Oral
Transmission,” Gastroenterology, March 2020, https://doi.org/10.1053/j.gastro.2020.02.054.
8
  Wenling Wang et al., “Detection of SARS-CoV-2 in Different Types of Clinical Specimens,” JAMA, March 11, 2020,
https://doi.org/10.1001/jama.2020.3786.
9
  Sunny H Wong, Rashid NS Lui, and Joseph JY Sung, “Covid-19 and the Digestive System,” Journal of
Gastroenterology and Hepatology, March 25, 2020, https://doi.org/10.1111/jgh.15047.
10
   Yan Bai et al., “Presumed Asymptomatic Carrier Transmission of COVID-19,” JAMA 323, no. 14 (April 14, 2020):
1406, https://doi.org/10.1001/jama.2020.2565; Kenji Mizumoto et al., “Estimating the Asymptomatic Proportion
of Coronavirus Disease 2019 (COVID-19) Cases on Board the Diamond Princess Cruise Ship, Yokohama, Japan,
2020,” Euro Surveillance: Bulletin Europeen Sur Les Maladies Transmissibles = European Communicable Disease
Bulletin 25, no. 10 (2020), https://doi.org/10.2807/1560-7917.ES.2020.25.10.2000180; Hiroshi Nishiura et al.,
“Estimation of the Asymptomatic Ratio of Novel Coronavirus Infections (COVID-19),” International Journal of
Infectious Diseases, March 2020, https://doi.org/10.1016/j.ijid.2020.03.020.


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having COVID-19 in isolation together while their tests are pending. If this occurs, it
represents a grave health risk because it is almost certain to mix positive and negative
cases together, thereby increasing the risk that PUIs who were negative before being
put into isolation will develop COVID-19.

Hand hygiene and the provision of surgical masks are insufficient to prevent the spread
of infection in a congregate setting. A clear demonstration of this is evident in the case
of the Diamond Princess cruise ship, 11 which sailed from Japan in January of this year.
In the last week of January, a passenger who disembarked from this ship in Hong Kong
tested positive for COVID-19. Within days, the cruise ship was quarantined in Japan
and strict precautions of hand hygiene and cabin isolation were implemented for all
crew and passengers. Despite these measures, more than 700 people were infected
with the virus over the following month. By the end of February, the Diamond Princess
cruise ship accounted for nearly half of COVID-19 cases outside of China. Several other
cruise ships have since had similar experiences with COVID-19. In terms of viral
transmission dynamics, in my opinion, a jail constitutes an equal or greater risk setting
to that of a cruise ship.

Social Distancing. The recommendation for all persons living in areas of COVID-19
disease activity is to engage in social distancing, hand hygiene, and proper respiratory
precautions. Social distancing involves physical separation of individuals by more than
six feet, avoidance of public places, and avoidance of congregate habitation. Social
distancing is the primary means by which individuals can be safely protected from the
threat of COVID-19, and by which public healthcare facilities will be able to withstand
the surge in patient volume related to this outbreak. There is ample evidence supporting
the use of social distancing as the primary measure of prevention in the COVID-19
outbreak:

     •   There is a strong biological rationale to containing a respiratory viral illness when
         susceptible populations stop gathering around persons who are potentially
         infected.
     •   When social distancing measures have been implemented in prior outbreaks of
         respiratory viruses, they have demonstrated moderate success in containing the
         spread of infection.
     •   Mathematical modeling studies project that social distancing measures prevent a
         rapid, overwhelming epidemic of COVID-19 cases.
     •   Analyses of state-level policies in Hong Kong and in the United States during the
         COVID-19 outbreak demonstrate that implementation of social distancing
         measures coincide with a reduced spread of the infection. 12



11
   Mallapaty, Smriti. “What the Cruise-Ship Outbreaks Reveal about COVID-19,” Nature News. accessed April 18,
2020, https://www.nature.com/articles/d41586-020-00885-w.
12
   Benjamin J Cowling et al., “Impact Assessment of Non-Pharmaceutical Interventions against Coronavirus Disease
2019 and Influenza in Hong Kong: An Observational Study,” The Lancet Public Health, April 2020,
https://doi.org/10.1016/S2468-2667(20)30090-6.


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Social distancing has been recommended by the CDC, the WHO, the Infectious
Diseases Society of America, and numerous other professional organizations and public
health entities in response to this outbreak. Social distancing is the officially stated
policy of state and federal governments in response to COVID-19. Without social
distancing, medical experience demonstrates that the rate of transmission will be
rampant and uncontrolled, and will risk overwhelming the healthcare system.

I reviewed the materials from the Sheriff suggesting that the provision of surgical masks
alleviates the need for social distancing. This is inconsistent with the position of the
CDC, the WHO, and a number of professional and public health organizations with
expertise on COVID-19. As I described above, surgical masks do not prevent fomite,
airborne transmission, and fecal-oral transmission of the virus. The high rate of
infectivity by asymptomatic or mildly symptomatic persons, in concert with the limitations
of clinical assessment and PCR testing in identifying positive cases, makes social
distancing a necessary intervention to prevent the spread of infection and downstream
complications of COVID-19.

I reviewed materials from the Sheriff indicating that the jail considers 170 detainees who
have COVID-19 to be medically recovered from the disease. The term "medically
recovered" is ambiguous since it can mean either (1) the alleviation of symptoms and
clinical resolution of disease in an individual or (2) the inability for a person with COVID-
19 to transmit the virus and infect others. The determination of when a COVID-19
patient is unable to transmit the virus and infect others is complex because of the limited
data on this issue. In most settings, patients with COVID-19 are considered to be
unable to transmit the infection only several days following the resolution of symptoms
and with a negative nasopharyngeal SARS-CoV-2 PCR test.

I reviewed materials from the Sheriff stating that individuals who have recovered from
COVID-19 have immunity to the virus. While it is hypothesized that most individuals who
are infected with COVID-19 develop immunity to the virus, there are many uncertainties
to this statement. Durable immunity to COVID-19 after infection has not been proven in
large-scale medical studies, though it is inferred from similar coronaviruses. There are
several known cases of COVID-19 patients meeting criteria for hospital discharge or
discontinuation of quarantine (with stricter criteria than is stipulated in the Sherriff's
documentation) who subsequently are found to have a positive nasopharyngeal PCR
test. 13



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13
  Lan Lan et al., “Positive RT-PCR Test Results in Patients Recovered From COVID-19,” JAMA, February 27, 2020,
https://doi.org/10.1001/jama.2020.2783.


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                         Materials Provided to Dr. Mohareb

o      Concetta Mennella’s 4/6/2020 and 4/13/2020 Declarations
o      Michael Miller’s 4/6/2020 and 4/17/2020 Declarations
o      Rebecca Levin’s 4/6/2020 Declaration
o      Defendant’s 4/13/2020 Post-Ruling Report (Dkt. 51)
o      Defendant’s 4/17/2020 PI Response (Dkt. 62)
o      Gregg Gonsalves Declaration (Exhibit G to Plaintiffs’ Renewed PI Motion)
o      COVID-19 Incarceration Model (Exhibit J to Plaintifs’ Renewed PI Motion)
o      Sarah Grady Declaration (Exhibit D to Plaintiffs’ Renewed PI Motion)
o      Dr. Puisis’s Declaration (Exhibit B to Plaintiffs’ Complaint)




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